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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     JUL 01 2024
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 SEATTLE PACIFIC UNIVERSITY,                    No. 22-35986

               Plaintiff - Appellant,
                                                D.C. No. 3:22-cv-05540-RJB
   v.                                           U.S. District Court for Western
                                                Washington, Tacoma
 ROBERT FERGUSON, in his official
 capacity as Attorney General of                MANDATE
 Washington,

               Defendant - Appellee.


        The judgment of this Court, entered June 07, 2024, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
